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 8                                      UNITED STATES DISTRICT COURT

 9                                      EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA                                  No. 2:12-cr-00375-TLN
12                         Plaintiff,
13            v.                                               ORDER RE: DEFENDANT’S
14   MICHAEL RAY TAYLOR, SR.,                                  REQUEST TO SEAL DOCUMENTS
15                         Defendant.
16

17            The Court is in receipt of Defendant Michael Ray Taylor Sr.’s request to seal documents
18   pursuant to Local Rule 141. (ECF No. 195.) Defendant is hereby ordered to refile the request to
19   seal in compliance with Local Rule 141(b). As such, the request should include the statutory or
20   other authority for sealing; the requested duration; the identity, by name or category, of persons to
21   be permitted access to the documents; and if applicable, the basis for excluding any party from
22   service. The documents for which sealing is requested should be paginated consecutively so that
23   they may be identified without reference to their content, and the total number of submitted pages
24   should be stated in the request.
25            Any opposition to the request to seal is due within three days of service of said request.
26   Local Rule 141(c).1
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      In light of the judgment and sentencing date set for December 3, 2015, and the fact that notice has already been
28   given to the Government, Defendant need not file a separate notice of request to seal. For purposes of the time for
                                                               1
        Case 2:12-cr-00375-TLN Document 197 Filed 11/24/15 Page 2 of 2


 1   Dated: November 23, 2015

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 3                                                                       Troy L. Nunley
                                                                         United States District Judge
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     filing an opposition, the Court will construe service of the refiled request to seal also as notice of said request. Local
28   Rule 141(c).
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